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 6
                                UNITED STATES BANKRUPTCY COURT
 7
                                          DISTRICT OF ARIZONA
 8
     In re:                                               In Proceedings Under Chapter 13
 9
     JEFFREY MARTIN STEVENS,                              Case No. 2:14-bk-07785-BKM
10   SSN: xxx-xx-4996,
     AND                                                  NOTICE OF CONVERSION FROM
11                                                        CHAPTER 13 TO CHAPTER 7
     JILL ANNETTE STEVENS,
12   SSN: xxx-xx-6596,

13   20906 N 39TH WAY
     PHOENIX, AZ 85050
14
     Debtors.
15
              Debtors, through counsel undersigned, moves this Court to enter an order converting this
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     case to a case under Chapter 7 of the Bankruptcy Code pursuant to 11 U.S.C. § 1307(a). In
17
     support of the Motion, Debtors state:
18       1. Debtors’ instant Chapter 13 bankruptcy case was filed on August 31, 2017.

19       2. Debtor’s Plan payments are currently delinquent $11,420.00.
         3. Debtor, Jeffrey Martin Stevens, is no longer employed with Blue Chip 2000, which
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              provided the Debtors with a second source of income; therefore, Debtors’ discretionary
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              income is insufficient to allow modification of their Plan.
22       4. Debtors are unable to complete the Chapter 13 Plan or otherwise modify the Chapter 13
23            Plan, as Debtors’ discretionary income is negative <$155.62>.

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        5. Debtor asserts that this case has not been previously converted under Sections 706, 1112 or
 2          1208, and that Debtors have the right to convert this case to Chapter 7 of the Bankruptcy

 3          Code.
        6. Debtors assert that it is in the best interest of all parties that the instant case be converted
 4
            from Chapter 13 to Chapter 7.
 5
        WHEREFORE, Debtors respectfully request the Court enter an Order converting the instant
 6   case to a case under Chapter 7 of the Bankruptcy Code.
 7
     DATE: May 14, 2018                           LERNER & ROWE LAW GROUP
 8

 9
                                                  By:       /s/ AN - 015509
10                                                          Andrew Nemeth
                                                            2701 E. Camelback Rd., Ste. 185
                                                            Phoenix, AZ 85016
11                                                          Attorney for Debtors
12

13   Reviewed and approved by:

14
     /s/ Jeffrey Martin Stevens
15   Jeffrey Martin Stevens

16   /s/ Jill Annette Stevens
     Jill Annette Stevens
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